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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     (Jacksonville)

UNITED STATES OF AMERICA,                            CASE NO. 3:98-CR-00336-HLA-JBT-1

                       Plaintiff,

vs.

MICHAEL KEITH DELANCY,

                  Defendant.
_________________________________/

              DEFENDANT, MICHAEL KEITH DELANCY’S
 MOTION FOR COMPASSIONATE RELEASE AND REDUCTION OF SENTENCE TO
 TIME-SERVED WITH HOME-CONFINEMENT AND ELECTRONIC MONITORING
       IMPOSED AS SPECIAL CONDITIONS OF SUPERVISED RELEASE

       COMES NOW the Defendant, MICHAEL KEITH DELANCY, by and through his

undersigned counsel, and presents herewith, his Motion for Compassionate Release and for

Reduction of Sentence to Time-Served with Home-Confinement and Electronic Monitoring

Imposed as Special Conditions of Supervised Release, and states as follows:

                       PERTINENT PROCEDURAL BACKGROUND

       1.      On September 9, 1998, the Defendant was named in one count of a seven-count

indictment, charging him with conspiracy to distribute cocaine, cocaine base (“crack”), and heroin

from 1984 to 1998, in violation of 21 U.S.C. § 846. [D.E. 1] (Five other individuals were charged

in the Indictment for substantive drug related violations. All five defendants entered guilty pleas

prior to trial, pursuant to written plea agreements. [D.E. 98-102]) His case was tried on October

4, 1999. This jury was unable to reach a verdict, and the trial ended in a mistrial. [D.E. following

211] (oral order granting mistrial). On November 5, 1999, after retrial, a second jury found the

Defendant guilty as charged in the Indictment. [D.E. 249]. On January 31, 2000, the defendant

was sentenced to life imprisonment. [D.E. 264]
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       2.      On February 9, 2000, the Defendant filed a timely notice of appeal. [D.E. 268]. On

July 12, 2001, the Eleventh Circuit Court of Appeals affirmed the Defendant’s conviction, but

found that the life sentence violated Apprendi v. New Jersey, 530 U.S. 466 (2000), and remanded

the case to the District Court for the limited purpose of resentencing consistent with 21 U.S.C.

§841(b)(1)(C) and 21 U.S.C. §851. [D.E. 297].

       3.      On October 3, 2002, the Defendant was resentenced to three hundred sixty (360)

months’ imprisonment and seventy-two (72) months supervised release. [D.E. 329/330]. On

October 9, 2002, a timely notice of appeal was again filed, and on July 9, 2003, the appellate court

issued its mandate affirming the Defendant’s sentence. [D.E. 342]

       4.       Presently, Michael Keith Delancy (Registration Number: 28495-018) is housed at

FCI Coleman (Medium) located at 846 N.E. 54th Terrace, Sumterville, FL 33521. According to the

Bureau of Prisons’ on-line site, as of the present date his anticipated release date is January 4, 2026,

however this date does not reflect what would be an earlier release date to a halfway-house

approximately six (6) months earlier and time-credits under The First Step Act which the Federal

Bureau of Prisons has yet to “adjust.” Additionally, it should be noted that Michael Keith Delancy

is a United States citizen, so it is a reasonable assumption that the halfway-house would be

available to this Defendant. The Defendant has been incarcerated since he was approximately

forty-four (44) years of age.

       Michael Keith Delancy is now sixty-six (66) years of age, after having been incarcerated

since April 21, 1999, thereby serving approximately 260 months of his 360 month sentence. (As

noted above, the Defendant has another sixty (60) months left to serve upon his sentence according

to the BOP online calculation.)

       5.       Title 18 U.S.C. §3582 allows the Court to consider a defendant’s motion for

compassionate release “after the defendant has fully exhausted all administrative rights to appeal
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a failure of the Bureau of Prisons to bring a motion on the defendant's behalf, or the lapse of 30

days from the receipt of such a request by the Warden of the Defendant's facility, whichever is

earlier.” 18 U.S.C. §3582(c)(1)(A).

       6.      On or about July 15, 2020, the Defendant submitted his request for compassionate

release (reduction in sentence) and/or home confinement to the Warden at FCI Coleman (Medium)

based on his medical issues and the risk of COVID-19 pursuant to 18 U.S.C. §3582(c)(1)(A) which

was subsequently denied by the Warden on October 23, 2020. (Exhibit “A”)

       7.      Therefore, the Defendant has exhausted his administrative remedies as required by

18 U.S.C. §3582(c) in that more than thirty (30) days have passed since his request was received

by the Warden.

       8.      The Defendant is respectfully requesting that this Honorable Court to issue its order

reducing his sentence to time-served with a period of home-confinement and electronic monitoring

imposed as special conditions of supervised release.

       9.      In the event this Court grants the Defendant’s request, he will reside with Adrienne

L. James at her residence located at 510 Meadow Sage Lane, Fayetteville, GA 30214. Ms. James

is the Defendant’s daughter-in-law who is a retired police officer turned entrepreneur. She is a

Florida Medicaid provider, providing services to individuals with disabilities in Northeast Florida.

       The household will have sufficient finances with which to support themselves without

having to be a burden upon any other individual outside of the household, and will have the

availability of resources to assure their medical care.

       Additionally, the Defendant will be employed by Horse Shoe Carriers, LLC, 3020 S.W.

Archer Road, Gainesville, Florida 32608, as an Office Manager Dispatcher. This company has

facilities and does business in various states, including Florida and Georgia. (See correspondence

from Horse Shoe Carriers, LLC, attached hereto as Exhibit “B”)
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         10.    The within Motion for Compassionate Release and for Reduction of Sentence to

Time-Served with Home-Confinement and Electronic Monitoring Imposed as Special Conditions

of Supervised Release is filed in the utmost of good faith and in the interest of justice. It is

respectfully submitted that every day the Defendant spends at FCI Coleman (Medium), he is at risk

of contracting COVID-19 with its dire consequences as a result of his medical conditions discussed

below.

                    FACTUAL BASIS FOR THE RELIEF REQUESTED
                                      AND
                        ARGUMENT IN SUPPORT THEREOF

         Michael Keith Delancy is presently sixty-six (66) years of age and suffers from many

medical conditions, including, but not limited to: Hypertension, Occlusion and Stenosis of Carotid

Artery (40%), Chronic Hepatitis C, Hyperlipidemia, Cardiac Arrhymia (Bradycardia), Prediabetes,

Edema; Osteoporosis, and is overweight (BMI of 29.6). (Pertinent portions of the Defendant’s

most recent (2020) BOP Medical Records are attached hereto as Composite Exhibit “C.”)

         The CDC states on their website, “The more underlying medical conditions someone has,

the greater their risk is for severe illness from COVID-19.” Further, courts have repeatedly held

that if an inmate has a chronic medical condition that has been identified by the CDC as elevating

an inmate’s risk of becoming seriously ill from COVID-19, that condition may constitute

“extraordinary and compelling reasons.” Also, the CDC states that adults of any age

with certain underlying medical conditions are at increased risk for severe illness from the virus

that causes COVID-19. Severe illness from COVID-19 is defined as hospitalization, admission to

the ICU, intubation or mechanical ventilation, or death. Further, the CDC has determined that

adults of any age with the following conditions might be at increased risk of severe illness from

the virus that causes COVID-19: Hypertension or high blood pressure … Cerebrovascular disease

(affects blood vessels and blood supply to the brain)
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        Hypertension

        The American College of Cardiology/American Heart Association Guideline for the

Prevention, Detection, Evaluation, and Management of High Blood Pressure in Adults (2017

Guideline) defines Stage 1 Hypertension as a blood pressure at or above 130/80 mm Hg and the

CDC defines Stage 1 Hypertension as a blood pressure at or above 130/80 mm Hg and Stage 2

Hypertension (the most severe stage) as a blood pressure at or above 140/90 mm Hg.1

        Individuals with high blood pressure may be susceptible to becoming seriously ill if

exposed to the COVID-19 virus.

        With regard to the Defendant’s Hypertension, a study published by the European Society

of Cardiology entitled, “High blood pressure linked to increased risk of dying from COVID-19,”

dated June 5, 2020, it is stated, “Patients with raised blood pressure have a two-fold increased risk

of dying from the coronavirus COVID-19 compared to patients without high blood pressure,

according     to     new     research      published     in     the European       Heart     Journal [1]

today.” [https://www.escardio.org/The-ESC/Press-Office/Press-releases/High-blood-pressure-

linked-to-increased-risk-of-dying-from-COVID-19]

        A weaker immune system is one reason people with high blood pressure and other health

problems are at higher risk for coronavirus. Long-term health conditions and aging weaken your

immune system so it's less able to fight off the virus … Another possibility is that the higher risk comes

not from high blood pressure itself, but from certain drugs used to treat it -- ACE inhibitors and

angiotensin receptor blockers (ARBs). The theory is based on the fact that ACE inhibitors and ARBs

raise levels of an enzyme called ACE2 in your body. To infect cells, the COVID-19 virus must attach

itself to the ACE2 enzymes. [https://www.webmd.com/lung/coronavirus-high-blood-pressure#1]


1 CDC, Facts About Hypertension, https://www.cdc.gov/bloodpressure/facts.htm (last visited
Sept. 30, 2020).
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       In-fact, the CDC has warned that high blood pressure and its treatment lowers a person’s

immune system making the impact of the virus very severe.

       Regarding the Defendant’s hypertension, the American Heart Association Guidance

regarding high blood pressure (one of the Defendant’s conditions) and the COVID-19 virus

entitled, “What people with high blood pressure need to know about COVID-19,” states in-part:

           “DALLAS, March 31, 2020 — Many people have concerns about staying
           healthy during the COVID-19 pandemic. Those with a chronic condition
           such as high blood pressure — a reading above 130/80 — may face an
           increased risk for severe complications if they get the virus…

       Data from China and Italy -- countries hit early by the virus -- show higher risk of COVID-19

infections and complications in people with high blood pressure. In China, 25% to 50% of people who

came to hospitals with coronavirus had high blood pressure or another health condition

like cancer, diabetes, or lung disease. In Italy, more than 99% of people who've died from the virus

had one of these conditions -- and 76% of them had high blood pressure. People with high blood

pressure are also slightly more likely to die from coronavirus. Their risk is about 6% higher than the

overall population.

       District courts across the nation, including courts in this district, have found that

hypertension, a personal COVID-19 risk factor, in a high-risk prison atmosphere, constitutes

“extraordinary and compelling reasons” warranting the granting of compassionate release. See

Lewis, 2020 WL 4333489 (S.D. Fla. July 20, 2020) (holding that the defendant’s high blood

pressure, alone, a condition which the CDC states may increase the risk of severe illness from

COVID-19, coupled with conditions within a correctional environment, constituted “extraordinary

and compelling reasons” could be more extraordinary and compelling than this pandemic” for an




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inmate that suffers from a chronic medical condition which the CDC identifies as elevating a

person’s risk of becoming justifying compassionate release.). 2

       Occlusion and Stenosis of Carotid Artery

       With regard to the Defendant’s Carotid Artery Disease, this occurs when fatty deposits

(plaques) clog the blood vessels that deliver blood to your brain and head (carotid arteries). The

blockage increases your risk of stroke, a medical emergency that occurs when the blood supply to

the brain is interrupted or seriously reduced. Stroke deprives your brain of oxygen. Within

minutes, brain cells begin to die. Stroke is the most common cause of death and the leading cause

of permanent disability in the U.S.




2 See also United States of Am. v. Mines, 4:18-CR-00552, 2020 WL 4003048 (N.D. Ohio July 15,
2020) (holding that the defendant’s hypertension, in conjunction with the fact that FCI Coleman
Low has had cases of COVID-19, presents extraordinary and compelling reasons that justify the
grant of compassionate release); Salvagno, 5:02-CR-51 (LEK), 2020 WL 3410601 (N.D.N.Y. Apr.
23, 2020) (a hypertensive prisoner at increased risk from the virus, constituted extraordinary and
compelling circumstances that warranted grant of compassionate release) (citing United States v.
Bray, 19-20216-9, 2020 WL 2494898, at *4 (E.D. Mich. May 14, 2020) (granting pre-trial release
to 48-year-old hypertensive inmate otherwise “in good health,” noting that “new studies identify
an increased risk of death from the virus for individuals with hypertension ... the Court considers
these studies indicating that hypertension may be an emerging risk factor for the virus”) (citing
news articles and recent CDC data); United States v. Gamble, No. 19-CR-348, Dkt. No. 59 at 8
(D.D.C. Apr. 13, 2020) (granting pre-trial release to a hypertensive inmate and noting that “the
[WHO] classifies those with hypertension as having an increased risk for severe disease and death
as a result of COVID-19, with a mortality rate of 8.4%”) (citing Report of the WHO-China Joint
Mission on Coronavirus Disease 2019 (COVID-19), WHO, at 12); Smith v. Warden, Toledo Corr.
Inst., No. 12-CV-425, 2020 WL 1815717, at *14 (S.D. Ohio Apr. 9, 2020) (noting that “the threat
[of COVID-19] is particularly significant—indeed, critical—as to those individuals who suffer
from preexisting conditions—including Petitioner, who has hypertension”) (citing New York State
government data)).”
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        Cerebrovascular Disease: The word cerebrovascular is made up of two parts – "cerebro"

which refers to the large part of the brain, and "vascular" which means arteries and veins. Together,

the word cerebrovascular refers to blood flow in the brain. The term cerebrovascular disease

includes all disorders in which an area of the brain is temporarily or permanently affected by

ischemia or bleeding and one or more of the cerebral blood vessels are involved in the pathological

process. Cerebrovascular disease includes stroke, carotid stenosis, vertebral stenosis and

intracranial stenosis, aneurysms, and vascular malformations. Restrictions in blood flow may

occur from vessel narrowing (stenosis), clot formation (thrombosis), blockage (embolism) or blood

vessel rupture (hemorrhage). Lack of sufficient blood flow (ischemia) affects brain tissue and may

cause a stroke. American Association of Neurological Surgeons.

        As noted above, the CDC has stated that people with the following conditions might be at

an increased risk for severe illness from COVID-19: … Cerebrovascular disease (affects blood

vessels and blood supply to the brain).

        Hyperlipidemia

        Hyperlipidemia is an umbrella term that refers to any of several acquired or genetic

disorders that result in a high level of lipids (fats, cholesterol and triglycerides) circulating in the

blood. These lipids can enter the walls of arteries and increase your risk of

developing atherosclerosis (hardening of the arteries), which can lead to stroke, heart attack and

the need to amputate. The risk of atherosclerosis is higher if you smoke, or if you have or develop

diabetes, high blood pressure and kidney failure. Society for Vascular Surgery.

        A new study published on the preprint server bioRxiv in May 2020 suggests that the

strikingly increased mortality in COVID-19 patients who are either old or also have high blood

pressure, diabetes, cardiovascular disease is due to high tissue cholesterol levels.



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       Cardiac Arrhymia (Bradycardia)

       Arrhythmias occur when the electrical signals that coordinate heartbeats are not working

correctly. An irregular heartbeat may feel like a racing heart or fluttering. Many heart arrhythmias

are harmless. However, if they are highly irregular or result from a weak or damaged heart,

arrhythmias can cause severe and potentially fatal symptoms and complications.

       Cardiac arrhythmia refers to a group of conditions that cause the heart to beat irregular, too

slowly, or too quickly. There are several categories of arrhythmia, including: Bradycardia, or a

slow heartbeat. Most arrhythmias are not severe and do not cause complications. Some, however,

can increase the risk of stroke or cardiac arrest.

       It should be noted that the Defendant’s BOP medical reports note that the Defendant has

exhibited many of the symptoms of Bradycardia, such as: chest pain; dizziness; lightheadedness,

and fainting or nearly fainting. Medical News Today, February 28, 2020.

       Chronic Hepatitis C

       The CDC has stated that currently they have no information about whether people with

hepatitis B or hepatitis C are at increased risk for getting COVID-19 or having severe COVID-19.

However, based on available information and clinical expertise, older adults (the Defendant is

66) and people of any age who have serious underlying medical conditions, including people with

liver disease, might be at higher risk for severe illness from COVID-19, particularly if the

underlying medical conditions are not well controlled.

       Overweight (BMI of 29.6)

       The CDC states that adults of any age with the following conditions might be at an

increased risk for severe illness from the virus that causes COVID-19: Overweight (BMI > 25

kg/m2, but < 30 kg/m2). The Defendant’s BMI is 29.6 according to the CDC BMI online calculator.



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        AGE OF THE DEFENDANT

        Mr. Delancy is sixty-seven (66) years of age. According to the CDC the following

 hospitalization and death rate comparisons for those of various ages that contract the Covid-19

 virus are set forth below.

                                HOSPITALIZATION                      DEATH

        18-29 years           Comparison Group                  Comparison Group
        30-39 years           2x higher                         4x higher
        40-49 years           3x higher                         10x higher
        50-64 years           4x higher                         30x higher
        65-74 years           5x higher                         90x higher
        75-84 years           8x higher                         220x higher
        85+ years             13x higher                        630x higher


        In-fact, the CDC has stated that “8 out of 10 Covid-19 deaths reported in the United States

 have been in adults 65 years old and older.”

        PATIENTS WITH MULTIPLE COMORBIDITIES

        The Defendant is sixty-six (66) years of age and as discussed above suffers from multiple

 comorbidities. Studies have found that patients with multiple comorbidities, as in this case, have

 “greater disease severity” and poorer outcomes. 3

        The startling statistics mean that there is now a “substantial risk” that, unless the Court

 grants compassionate release, the Defendant will, “with an unsettlingly high degree of probability,

 serve a life sentence,” if he contracts the Covid-19 virus. United States v. Bess, No. 1:16-cr-156,

 2020 WL 1940809, at *10, (W.D.N.Y. Apr. 22, 2020) (granting compassionate release).




 3 See, e.g., Wei-jie Guan, et al., Comorbidity and its impact on 1590 patients with COVID-19 in
 China:       a      nationwide       analysis;    Eur.      Respir.     J.,     (May     2020),
 https://www.ncbi.nlm.nih.gov/pmc/articles/ PMC7098485/.
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        Yet many patients with preexisting conditions who develop severe Covid-19 and do not

 die will still experience severe illness and require hospitalization. Most people in the higher risk

 categories who contract Covid-19 will require more advanced support: positive pressure

 ventilation, and in extreme cases, extracorporeal mechanical oxygenation. Such care requires

 highly specialized equipment in limited supply as well as an entire team of care providers,

 including but not limited to 1:1 or 1:2 nurse to patient ratios, respiratory therapists and intensive

 care physicians. For high risk patients who do not die from COVID-19, a prolonged recovery is

 expected to be required, including the need for extensive rehabilitation for profound

 deconditioning, loss of digits, neurological damage, and loss of respiratory capacity.” 4

                                            ARGUMENT

        It is well-known that the Covid-19 pandemic poses a serious danger to society, and

 especially to at-risk or vulnerable inmates. In light of this unprecedented situation, Attorney

 General Barr had urged the Bureau of Prisons to transfer inmates to home confinement where

 appropriate to decrease the risks to their health. Memorandum from the Attorney General (April 3,

 2020). The memorandum states that inmates over 60 years of age with severe pre-existing medical

 conditions serving sentences for non-violent crimes may be transferred to home confinement. (Id.

 at 2.). Inmates who are not transferred to home confinement by the Federal Bureau of Prisons may

 also file a motion with the district court requesting compassionate release under 18 U.S.C.A.

 §3582(c)(1)(A) due to “extraordinary and compelling” circumstances.

        Under the relevant Sentencing Guidelines Policy Statement, the Court “may reduce a term

 of imprisonment . . . if, after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent



 4 See also Ling Mao, et al., Neurologic Manifestations of Hospitalized Patients With Coronavirus
 Disease     2019     in      Wuhan,     China,     JAMA      Neurol.,     (Apr.    10,    2020);
 https://jamanetwork.com/journals/jamaneurology/fullarticle/2764549.
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 they are applicable, the court determines that . . . extraordinary and compelling reasons warrant a

 reduction.” §1B1.13. The Court must also find that the defendant “is not a danger to the safety of

 any other person or to the community, as provided in 18 U.S.C. § 3142(g).” Id. at policy stmt.

 Based on this framework, in order to qualify for compassionate release, the Court must find that

 “extraordinary and compelling” reasons warrant the Defendant’s release; that he is not a danger to

 the community, and consider the factors in 18 U.S.C. §3553(a).

        With regard to the Defendant (age 66) not being a danger to the safety of any other person

 or to the community, the Unites States Sentencing Commission issued a report December of 2017

 entitled, “The Effects of Aging on Recidivism Among Federal Offenders.” By way of summary,

 the report concluded, “Older offenders were substantially less likely than younger offenders to

 recidivate following release. Over an eight-year follow-up period, 13.4 percent of offenders age

 65 or older at the time of release were rearrested compared to 67.6 percent of offenders younger

 than age 21 at the time of release. The pattern was consistent across age groupings, and recidivism

 measured by rearrest, reconviction, and reincarceration declined as age increased.”

 [https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
 publications/2017/20171207_Recidivism-Age.pdf]

        Again, courts have repeatedly held that if an inmate has a chronic medical condition that

 has been identified by the Centers for Disease Control as elevating an inmate’s risk of becoming

 seriously ill from COVID-19, as noted above, that condition may constitute “extraordinary and

 compelling reasons.”

        Therefore, the first question for the Court is whether the Defendant’s health conditions

 coupled with the coronavirus pandemic constitute “extraordinary and compelling” reasons

 warranting his immediate release to commence his term of supervised release. It is submitted that




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 based on the increased risks posed by the COVID-19 pandemic and the Defendant’s chronic health

 conditions his release from incarceration at this time is appropriate.

        As noted above, in addition to the increased risk of death posed by COVID-19, the Court

 must also evaluate whether the Defendant is a danger to the safety of others or the community

 under 18 U.S.C. §3142(g). The Defendant was convicted of conspiracy to distribute cocaine,

 cocaine base, and heroin in violation of 21 U.S.C. §846. The Defendant acknowledges that he

 committed a serious offense for which he is extremely remorseful and for which he fully accepts

 responsibility.

        Further, it is unlikely that he would commit crimes in the future, in-part due to his advanced

 age of sixty-six (66). Therefore, it is submitted that the Defendant is not a danger to the safety of

 others or the community.

        Finally, the Court should consider the applicable factors pursuant to 18 U.S.C. §3553(a).

        It is submitted that in light of the COVID-19 situation and the risks involved, a second look

 at Mr. Delancy’s sentence is appropriate at this time, now that more than twenty-one (21) years

 have gone by since he began his incarceration. Essentially, the question may be posed, are the

 goals of §3553(a)(1), and the need to ensure adequate punishment, deterrence, and community

 protection fulfilled, by the release of the Defendant from incarceration. In other words, is the

 continued confinement of the Defendant for the remaining sixty (60) months of his sentence

 necessary to serve the purposes of punishment under §3553(a)(2).

        When looking at the §3553(a) factors, the United States Supreme Court in Pepper v. United

 States, 131 S.Ct. 1229 (2011), stated that it was reasonable to examine a defendant’s conduct and

 activities while he or she has been incarcerated. In other words, his post-sentencing rehabilitation.

        In the case of Michael Keith Delancy, he has no significant incident reports and has

 dutifully performed his work assignments while incarcerated. Further, according to his BOP
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 “Individualized Needs Plan – Program Review,” the Defendant has engaged in many self-

 improvement classes and activities, such as: physical fitness/health education; weight loss class;

 field maintenance; driver’s license courses; he completed a responsible thinking course and

 received a Certificate of Achievement; RPP personal growth class; he has received a Commercial

 Driver’s Training Certificate; disease prevention; accounting class; consumer economics; job

 interviewing; resume writing class, and attended GED classes. (The Defendant’s Individualized

 Needs Plan – Program Review, BOP Education Transcript, and Certificates attached hereto as

 Composite Exhibit “D”)

              RECENT CASE LAW REGARDING SENTENCE REDUCTIONS
                   PURSUANT TO TITLE 18 U.S.C. §3582(c)(1)(A)

        This Court has authority to reduce the Defendant’s sentence for “extraordinary
        and compelling reasons” pursuant to 18 U.S.C. §3582(C)(1)(A) other than the
        medical condition, age and family circumstances of the defendant. (In other
        words, Congress intended to empower district courts to reduce sentences based
        on “extraordinary and compelling reasons” other than medical condition, age
        and family circumstances.)

        On September 25, 2020, the Second Circuit Court of Appeals issued its opinion in United

 States v. Brooker, et al., 976 F.3d 228 (2nd Cir. 2020), holding that district courts have broad

 discretion to decide what constitute “extraordinary and compelling” reasons for a reduction in

 sentence under 3582(c)(1)(A). The court held that district courts are not bound by U.S.S.G.

 §1B1.13 in making that determination.

        In Brooker, the Court took a careful look at §1B1.13 and held it could not be the “applicable

 policy statement” for motions brought by a defendant under the post-First Step Act

 §3582(c)(1)(A). The court stated, “After all, §1B1.13 makes multiple references to the Bureau of

 Prisons as the moving entity and in application note 4 expressly states that a “reduction under this

 policy statement may be granted only upon motion by the Director of the BOP.” So, the Court

 concluded, “§1B1.13 is the policy statement that only applies to motions brought by the
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 BOP. Without a policy statement pertaining to motions brought pursuant to §3582(c)(1)(A), the

 determination is left to the broad discretion of the district court.” (Emphasis supplied.)

         The Second Circuit was careful to explain that, although we call it compassionate release,

 the statute actually says “reduction in sentence.” The only statutory limitation is that rehabilitation

 alone is not an “extraordinary and compelling” reason. However, rehabilitation combined with

 other factors may be an “extraordinary and compelling” reason. The court noted that, “the

 consideration of these factors and of their possible relevance, whether in isolation or combination,

 is best left to the sound discretion of the trial court in the first instance.”

         Very recently, on December 16, 2020 United States District Court Judge Cecilia M.

 Altonaga in the Southern District of Florida held that district courts are empowered to consider

 any extraordinary and compelling reason for release that a defendant might raise, and proceeded

 to grant time-served to a defendant who had previously been sentenced to life imprisonment.

 United States v. Luis Cano, SDFL Case No. 95-00481-CR-Altonaga [D.E. 965].

         In United States v. McCoy, 2020 WL 7050097 (4th Cir. December 2, 2020), the Court found

 that the application note to the Sentencing Guideline making the Bureau of Prisons (BOP) the sole

 arbiter of whether certain reasons qualify as extraordinary and compelling, could not operate to

 constrain a district courts’ discretion to consider whether any reasons were extraordinary and

 compelling with respect to motions brought by a defendant.

         In United States v. Gunn, 2020 WL 6813995 (7th Cir. November 20, 2020), the Court held

 that the Sentencing Commission's policy statement regarding what constitutes extraordinary and

 compelling reasons to justify compassionate release is not applicable to compassionate release

 motions brought by defendants.

         In United States v. Jones, 2020 WL 6817488 (6th Cir. November 20, 2020), the Court stated

 in-part, “We now join the majority of district courts and the Second Circuit in holding that the
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 passage of the First Step Act rendered § 1B1.13 “inapplicable” to cases where an imprisoned

 person files a motion for compassionate release. (Citing Brooker above.) Until the Sentencing

 Commission updates §1B1.13 to reflect the First Step Act, district courts have full discretion in

 the interim to determine whether an “extraordinary and compelling” reason justifies compassionate

 release when an imprisoned person files a §3582(c)(1)(A) motion.”

        In United States v. Eric Millan, SDNY Case No. 91-CR-685 (April 6, 2020), the court

 carefully analyzed its authority to reduce Millan’s sentence and proceeded to reduce his sentence

 to time-served from a life sentence pursuant to 18 U.S.C. §3582(c)(1)(A).

        In analyzing the court’s authority, the court set out its reasoning as set forth below:

        Section [18 U.S.C. §3582(c)(1)(A)] provides that district courts can modify a “final term

 of imprisonment” if “extraordinary and compelling reasons warrant such a reduction.” Three

 points bear noting with regard to the operation of 18 U.S.C. §3582(c)(1)(A).

        First, in passing the statute, Congress empowered district courts, not the U.S. Parole

 Commission, as previously, to decide in individual cases if “there is a justification for reducing a

 term of imprisonment.” See S. Rep. No. 98-225, at 56 (1983). Put differently, Congress envisioned

 18 U.S.C. §3582(c)(1)(A) acting as a “safety valve[] for [the] modification of sentences” and

 intended for district courts to be able to reduce sentences when justified by the various factors and

 reasons that the U.S. Parole Commission previously had considered in making parole

 determinations. Id. at 121. Lawmakers further noted that the foregoing approach would keep “the

 sentencing power in the judiciary where it belongs,” rather than with the U.S. Parole Commission,

 and that 18 U.S.C. §3582(c)(1)(A) would allow for the “later review of sentences in particularly

 compelling situations.” Id. This legislative history demonstrates that Congress, in passing the

 Comprehensive Crime Control Act of 1984 intended to give district courts an equitable power to

 employ on an individualized basis to correct sentences when “extraordinary and compelling
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 reasons” indicate that the sentence initially imposed on any individual defendant no longer served

 legislative objectives.

        Second, although the power to reduce sentences provided for by 18 U.S.C. §3582(c(1)(A)

 has most often been used to reduce the prison terms of elderly and/or terminally ill defendants,

 nothing in the statutory language or legislative history of 18 U.S.C. §3582(c) indicates that

 Congress intended to limit its application to elderly defendants or defendants with compelling

 medical circumstances. Rather, if a judge finds the existence of any “extraordinary and compelling

 reasons” warranting a sentence reduction, those reasons could, pursuant to 18 U.S.C.

 §3582(c)(1)(A), form the legal basis for the reduction “of an unusually long sentence.” Id. at 55-

 56.

        Indeed, the legislative history of 18 U.S.C. §3582(c)(1)(A) indicates that lawmakers

 thought that “extraordinary and compelling reasons” for a sentence reduction should not be limited

 to medical condition, age, and family circumstances. In particular, recognizing that parole had

 historically played a key role in the federal criminal justice system, legislators explained how some

 defendants may warrant a sentence reduction (after service of some period of incarceration) based

 on any number of “circumstances.”

        Third, notwithstanding all of the foregoing, Congress originally conditioned the reduction

 of any “final term of imprisonment” pursuant to 18 U.S.C. §3582(c)(1)(A) on the filing of a motion

 by the Director of the BOP requesting such a reduction. Thus, district courts--until the recently

 enacted First Step Act -- were only authorized to reduce a sentence based on “extraordinary and

 compelling reasons” if asked to do so by the Director of the BOP.

        The Millan court went on to note that the U.S. Sentencing Commission has indicated that

 the “extraordinary and compelling reasons” upon which a sentence reduction pursuant to 18 U.S.C.

 §3582(c)(1)(A) may be based are not limited to medical condition, age and family circumstances.
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        In enacting the Comprehensive Crime Control Act of 1984, Congress tasked the U.S.

 Sentencing Commission (the “Sentencing Commission”) with responsibility for developing

 standards for identifying the existence of “extraordinary and compelling reasons” for a sentence

 reduction. See 28 U.S.C. §994(t) (“The Commission . . . shall describe what should be considered

 extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

 and a list of specific examples”).

        When the Sentencing Commission acted in 2007, it promulgated a policy statement

 advising that “extraordinary and compelling reasons” warranting a sentence reduction could

 include medical condition, age, family circumstances and “other reasons.” See U.S.S.G. §1B1.13,

 Application Note 1(A) (Amendment 698).

        Thereafter, in April 2013, the Office of the Inspector General of the Department of Justice

 (the “OIG”) issued a report finding that the Director of the BOP rarely filed 18 U.S.C.

 §3582(c)(1)(A) sentence reduction motions (even for defendants who clearly met the Sentencing

 Commission’s objective criteria for a sentence reduction). See U.S. Dep’t of Justice Office of the

 Inspector General, the Federal Bureau of Prisons’ Compassionate Release Program (Apr. 2013).

        In response, the Sentencing Commission expanded its guidance to district courts on

 qualifying circumstances and encouraged the BOP to file 18 U.S.C. §3582(c)(1)(A) motions

 whenever a defendant meets the criteria set forth in Section 1B1.13 of the Guidelines. See U.S.S.G.

 §1B1.13, Application Note 4; United States v. Dimasi, 220 F. Supp. 3d 173, 175 (D. Mass. 2016)

 (discussing the progression from the OIG report to new “encouraging” guidelines). In doing so,

 the Sentencing Commission identified several categories of qualifying “extraordinary and

 compelling reasons,” including medical condition, age, family circumstances and “[o]ther reasons,

 for circumstances in which the Director of the BOP determines that there is an extraordinary and



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 compelling reason other than, or in combination with,” medical condition, age and family

 circumstances. U.S.S.G. §1B1.13, Application Note 1(A) (internal quotation marks omitted).

        Finally, Congress set forth only one limitation when it delegated authority to the

 Sentencing Commission to develop standards for identifying “extraordinary and compelling

 reasons” for a sentence reduction: “Rehabilitation of the defendant alone shall not be considered

 an extraordinary and compelling reason.” 28 U.S.C. §994(t) (emphasis added).

        On the one hand, lawmakers no doubt legislated that sole limitation so that district courts

 would not use a defendant’s rehabilitation, standing alone, as a basis for a sentence reduction,

 thereby creating a direct substitute for the parole system that Congress abolished when it passed

 the Comprehensive Crime Control Act of 1984.

        On the other hand, legislators’ use of the modifier “alone” evidences that they believed that

 rehabilitation is relevant to the question of whether a sentence should be reduced and that

 rehabilitation, when considered together with other equitable factors, could constitute

 “extraordinary and compelling reasons” for a sentence reduction.

        In late 2018, Congress passed the First Step Act, which, among other things, fundamentally

 transformed the process by which 18 U.S.C. §3582(c)(1)(A) sentence reduction motions are

 adjudicated. In particular, instead of relying on the Director of the BOP to determine whether

 “extraordinary and compelling reasons” exist supportive of a sentence reduction and instead of

 relying on the Director of the BOP to file an 18 U.S.C. §3582(c)(1)(A) sentence reduction motion,

 district courts today can resentence a defendant “upon motion of the defendant” as long as a

 defendant first files a request for a sentence reduction motion with the warden of the facility in

 which he or she is being held that is rejected or the lapse of 30 days “from the receipt of such a

 request by the warden of the defendant’s facility,” whichever happens first. See 18 U.S.C.

 §3582(c)(1)(A); United States v. Beck, Case No. 13-Cr-186-6, 2019 WL 2716505, at *5 (W.D.N.C.
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 June 28, 2019) (“Among other things, [the First Step Act] add[s] a provision allowing courts to

 consider motions by defendants for compassionate release without a motion by the BOP Director,

 so long as the defendant has asked the Director to bring such a motion the Director fails or

 refuses”).

        Thus, once a defendant files an 18 U.S.C. §3582(c)(1)(A) sentence reduction motion after

 the occurrence of either of the two foregoing events, a district court may reduce that defendant’s

 sentence to time served (or any other prison term short of the initial sentence) if it finds that: (1)

 “extraordinary and compelling reasons” exist for a sentence reduction after considering the 18

 U.S.C. §3553(a) factors; and (2) a reduced prison term is consistent with the applicable policy

 statements set forth in Section 1B1.13 of the Guidelines. See Beck, 2019 WL 2716505, at *6

 (“Thus, courts may, on motions by defendants, consider whether a sentence reduction is warranted

 for extraordinary and compelling reasons other than those specifically identified in the application

 notes to the old policy statement”). And courts have utilized that power.

        The case of United States v. Cantu-Rivera, Case No. 89-CR-204, 2019 WL 2578272 (S.D.

 Tex. June 24, 2019), is instructive with regard to court’s newfound authority to reduce sentences

 based on “extraordinary and compelling reasons” (even if those reasons do not relate to medical

 condition, age or family circumstances).

        Initially, the court in Cantu-Rivera explained that “[t]he First Step Act of 2018 amended

 18 U.S.C. §3582(c)(1)(A) to allow district courts to modify sentences of imprisonment upon

 motion by the defendant if the defendant has fully exhausted all [BOP] administrative rights . . .

 or 30 days from the receipt of such a request by the warden of the defendant’s facility, whichever

 is earlier.” Id. at *1 (internal quotation marks omitted). It then reduced that defendant’s life

 sentence (for conspiracy to possess with intent to distribute in excess of five kilograms of cocaine)



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 to time served (after service of more than 30 years imprisonment) based principally on “the

 extraordinary degree of rehabilitation” Mr. Cantu-Rivera had accomplished.

        Similarly, in United States v. Cantu, Case No. 05-CR-458, 2019 WL 2498923 (S.D. Tex.

 June 17, 2019), the court noted that “[a] court may now,” pursuant to 18 U.S.C. §3582(c)(1)(A),

 “modify a defendant’s sentence if it finds on either the BOP’s or the defendant’s motion that

 ‘extraordinary and compelling reasons warrant such a reduction’ and ‘such a reduction is

 consistent with applicable policy statements issued by the Sentencing Commission.’” Id. at *1. It

 then reduced that defendant’s 290-month sentence (which had previously been reduced to 210

 months based on Amendments 782 and 788 to the Guidelines) to time served (after service of more

 than 14 years imprisonment) based principally on his medical condition, even though he “ha[d]

 not presented evidence that his reasons are extraordinary and compelling under the three explicitly

 defined reasons” set forth in Application Note 1 to Section 1B1.13 of the Guidelines. Id. at *3.

        Therefore, in the case-at-bar this Court has broad discretion to determine if Michael Keith

 Delancy’s rehabilitation and other factors constitute an “extraordinary and compelling” reason to

 reduce his sentence and permit him to commence his term of supervised release with home-

 confinement and electronic monitoring imposed as special conditions.

                                          CONCLUSION

        It is submitted that based on the increased risks posed by the COVID-19 pandemic and the

 Defendant’s chronic health conditions as well as the other factors discussed herein, his release at

 this time and the commencement of his term of supervised release with home-confinement and

 electronic monitoring imposed as special conditions is appropriate.

        In determining whether “extraordinary and compelling reasons” exist courts do not

 consider a defendant’s medical condition in isolation, rather, courts evaluate a defendant’s medical



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 record as a whole, including taking into account a defendant’s age. Blake, 15-CR-80018, 2020 WL

 4677309 (S.D. Fla. Aug. 12, 2020).

        In addition, due to Mr. Delancy’s age, he is far more likely to succumb to the virus than

 that of younger populations. Mr. Delancy suffers from underlying medical conditions, which

 increase his risk of severe illness or death should he contract COVID-19 regardless of his advanced

 age. See Critchlow, 2020 WL 5544043, at *5 (S.D. Ind. Sept. 16, 2020) (Because the defendant

 suffered from health conditions that the CDC guidelines identified as possibly increasing the risk

 of severe illness or death at any age, the Government’s argument that the defendant is young was

 unpersuasive to the court.).

        Sadly, for Mr. Delancy, the risk of contracting COVID-19 and becoming critically ill due

 to the spread of the virus within his prison is not a hypothetical one. According to the Federal

 Bureau of Prisons online resource page, as of January 7, 2021, “[t]here are 5,950 federal

 inmates and 1,946 BOP staff who have confirmed positive test results for COVID-19 nationwide.

 Currently, 35,426 inmates and 3,111 staff have recovered. There have been 182 federal inmate

 deaths and 3 BOP staff member deaths attributed to COVID-19 disease. Of the inmate

 deaths, 4 occurred while on home confinement.”

        Despite the BOP's significant efforts to try to manage the virus in its facilities, as of January

 7, 2021 it reports that at FCI Coleman (Medium) 52 inmates and 37 staff members are positive; 3

 inmates have died, and 278 inmates and 8 staff members have recovered. Furthermore, the

 Government's assurances that the BOP's “extraordinary actions” can protect inmates ring hollow

 given that these measures have already failed to prevent transmission of the disease at the facility

 where Mr. Delancy is housed.

        Because Mr. Delancy is at a greater risk for medical complications if he contracts the virus

 due to his health status, Mr. Delancy’s health and life are in serious danger if he continues to serve
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 his sentence at FCI Coleman (Medium). Therefore, Mr. Delancy’s health status in conjunction

 with the significant outbreak at FCI Coleman (Medium), present extraordinary and compelling

 reasons that justify the granting of compassionate release. 5 After all, people in prison or jail may

 have made bad decisions to wind up behind bars, but they are still human beings worthy of

 consideration during this medical emergency. As our country braces itself for more of the effects

 of the coronavirus, we should make sure that those in the justice system are protected as well.

        As stated above, Mr. Delancy does not have a history of committing violent offenses, nor

 does he pose a danger to the community. Further, during his period of incarceration Mr. Delancy

 has made every effort to improve himself.

        It is submitted that continued confinement at FCI Coleman (Medium) for the remaining

 sixty (60) months of his sentence is unnecessary to serve the purposes of punishment under

 §3553(a)(2).

        A reduction to time-served with home-confinement and electronic monitoring imposed as

 a special conditions of supervised release will still reflect the seriousness of his offense; promote

 respect for the law, provide just punishment, deterrence, and community protection. In sum and

 substance, such a sentence reduction will continue to be in accord with the sentencing principals

 set forth in Title 18 U.S.C. §3553(a), and will be sufficient, but not greater than necessary, to

 comply with the sentencing goals set forth in Title 18 U.S.C. §3553(2)(A-D).




 5  See Riccardi, 02-20060-JWL, 2020 WL 4260636, at *3 (D. Kan. July 24, 2020) (“The
 combination of defendant’s age, his underlying health conditions, which increase his risk of serious
 harm from the virus, and the recent outbreak at the facility, where it appears that measures to
 contain the virus have been ineffective, provides an extraordinary and compelling reason for relief
 in this case.”); United States v. Vega, 1:16-CR-00319, 2020 WL 4784797, at *1 (N.D. Ohio Aug.
 18, 2020) (“Vega's medical conditions, in conjunction with the presence of COVID-19 at FCI
 Coleman Low, are extraordinary and compelling reasons that justify his compassionate release.”).
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        WHEREFORE, Defendant, MICHAEL KEITH DELANCY, respectfully prays that this

 Honorable Court enter its order granting the within Motion for Compassionate Release and for

 Reduction of Sentence to Time-Served with Home-Confinement and Electronic Monitoring

 Imposed as Special Conditions of Supervised Release.

                                                       Respectfully submitted,

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                                                       /s/ Adam K. Goodman
                                                       Adam K. Goodman, Esq.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of January, 2021, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

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                                        SERVICE LIST

                    United States of America v. Michael Keith Delancy
                           Case No. 3:98-CR-00336-HLA-JBT-1
                   United States District Court, Middle District of Florida

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